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                        THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 In re:                                          §
                                                 §            Case No. 22-33553
 ALEXANDER E. JONES                              §            (Chapter 7)
                                                 §
          Debtor.                                §


          NOTICE OF STATUS CONFERENCE AND CERTIFICATE OF SERVICE
                       [Relates to Dkt. Nos. 1005, 1011, and 1018]

          PLEASE TAKE NOTICE that Court will hold a virtual status conference in this case on

January 31, 2025 at 11:00 a.m. (CST), before the Honorable Christopher M. Lopez, United States

Bankruptcy Judge, Courtroom 401, 515 Rusk, Houston, TX 77002.

          Parties may participate and attend this hearing remotely by telephone and video conference.

Audio for remote participation is conducted by phone, Dial-in Number: 832-917-1510, Conference

ID: 590153. Video participation is conducted through GoToMeeting at: https://www.gotomeet.me/

JudgeLopez. Additional instructions, rules, and/or procedures on participation may be found on the

Court’s        homepage        at:     https://www.txs.uscourts.gov/page/united-states-bankruptcy-

judgechristopher-m-lopez.




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Dated: January 30, 2025.
                                            Respectfully submitted,

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                                             CO-COUNSEL FOR THE CHAPTER 7 TRUSTEE



                                CERTIFICATE OF SERVICE

        This will certify that a true and correct copy of the foregoing document was forwarded by
electronic transmission to all registered ECF users appearing in the case on January 30, 2025.

                                                                   /s/ Erin E. Jones
                                                                   Erin E. Jones




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